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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

UMG = RECORDINGS, _ INC, CAPITOL
RECORDS, LLC, SONY MUSIC
ENTERTAINMENT, ARISTA MUSIC, ARISTA
RECORDS LLC, ATLANTIC RECORDING
CORPORATION, RHINO ENTERTAINMENT
COMPANY, WARNER MUSIC INC., WARNER
MUSIC INTERNATIONAL SERVICES
LIMITED, WARNER RECORDS INC., WARNER
RECORDS LLC, and WARNER RECORDS/SIRE
VENTURES LLC,

Plaintiffs,
v.

UNCHARTED LABS, INC., d/b/a Udio.com, and
JOHN DOES 1-10,

Defendant,

Case No. 1:24-cv-04777-AKH

“—FROPSSER! STIPULATED SOURCE CODE PROTOCOL

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ALVIN kK. HELLERSTEIN, United States District Judge:

WHEREAS, the Court directed the Parties to this action (collectively, the “Parties,” and
individually, a “Party”) to propose an order pursuant to Federal Rule of Civil Procedure 26(c) to
protect the confidentiality of certain nonpublic and confidential source code material that will be
exchanged during the course of discovery in this case;

WHEREAS, the Parties acknowledge that this Source Code Order does not confer blanket
protections on all disclosures or responses to discovery and that the protections it affords extend
only to the limited information or items that are entitled, under the applicable legal principles, to
confidential treatment;

WHEREAS, the Parties acknowledge that this Source Code Order does not mean that the
Parties’ will not produce information or material that can be produced in another form consistent
with Federal Rule of Civil Procedure 26(b);

WHEREAS, the Parties further acknowledge that this Source Code Order does not entitle
the Parties to file confidential information under seal,

WHEREAS, the Parties agree that this Source Code Protocol is to be read in conjunction
with and as supplemental to the Confidentiality Stipulation and Protective Order entered in this
action (“Protective Order”);

WHEREAS, Defendant Uncharted Labs, Inc. (“Defendant”) considers its source code to
be among its most highly confidential and sensitive assets;

WHEREAS, Defendant made representations to Plaintiffs regarding the size of its Source
Code Material, including both model code and application code, during the negotiation of this
protocol;

WHEREAS, the Parties reserve all rights to seek modification of this protocol for any

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reason, including to reflect any technical considerations identified once the Parties have reached
agreement (or the Court has resolved) any disputes regarding the particular source code materials
that will be made available for inspection, or that may arise when the Source Code Material is
being prepared for inspection;

WHEREAS, nothing in this Source Code Protocol shall lessen the restrictions on disclosure
of “HIGHLY CONFIDENTIAL — SOURCE CODE” contained in the Protective Order;

WHEREAS, the Parties stipulate and agree, and ask the Court to order, that the following
protocols will apply to any material designated “HIGHLY CONFIDENTIAL — SOURCE CODE”
by Defendant pursuant to paragraph 6 of the Protective Order, and that Defendant will agree to
make available for inspection (“Source Code Material”);

IT IS HEREBY ORDERED that the following procedures shall apply to the inspection of
Source Code Material, to the extent any such material is made available for inspection:

1. Source Code Material will be made available for inspection in a secured room at
one of the following locations: the office of Defendant’s outside counsel, the office of Defendant’s
vendor, or a neutral location mutually agreed upon by the Parties. The Parties agree to cooperate
in good faith to determine a mutually acceptable location for the inspection of source code.

2. Source Code Material will be made available for inspection in its native format on
at least two computers that are not be linked to any other network, including a local area network
(“LAN”), an intranet, or the Internet (“Source Code Computer(s)”). The inspecting party may
request up to an additional two (2) such computers (for a total of four (4) computers) to inspect
Source Code Material. Each Source Code Computer should be connected to an external monitor,
an external keyboard, and an external mouse. The hardware and software specifications of the

Source Code Computer(s) (c.g., processor speed, RAM, operating system, monitor, compatible

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IDE and any dependencies) shall be commensurate with that of computers used by Defendant to
review source code in the ordinary course of business, Each Source Code Computer shall have
the Source Code loaded onto a drive having sufficient space and permissions so that the reviewer
may copy selections of Source Code to a new part of the same drive to facilitate faster searches,

3, Inspection of Source Code Material shail be limited to outside counsel and up to
three (3) outside consultants or experts retained for the purpose of this litigation and those
individuals! approved to access such Protected Materials pursuant to paragraph 13 of the
Protective Order (“Plaintiffs’ Representatives”).?

4. Defendant shall load its Source Code Material in a read-only, text-searchable file
format, as it is kept within the native source code revision system (e.g., Git), including all revision
history, in the ordinary course of business, on the Source Code Computer(s). The Source Code
Computer(s) will be equipped with tools that are sufficient for viewing, searching, comparing, and
copying the Source Code made available for inspection. Plaintiffs’ counsel, consultants, and/or
experts may request that licensed software tools and/or files be installed on the secured computer,
provided, however, that (a) Defendant approves such software tools and/or files, such approval not
to be unreasonably withheld; and (b) such software tools and/or files are reasonably necessary for

Plaintiffs’ Representatives to perform its review of the Source Code consistent with all of the

| For the purposes of this Order, an outside consultant or expert is defined to include the outside
consultant’s or expert’s support personnel within his or her firm provided that each outside person
has signed the Non-Disclosure Agreement and been disclosed under the terms of the Protective
Order.

2 The parties agree that designated in-house counsel (as defined in Paragraph 13(b) of the Protective
Order) may access derivative materials (such as expert reports, court filings, or other materials as
needed to approve such papers for service or filing) that contain Source Code Material, provided
that such person has signed the Non-Disclosure Agreement, and any actual Source Code Material
quoted or excerpted in such derivative materials are redacted from view. Under no circumstances
will the designated in-house counsel who are provided access to derivative materials be permitted
to review any actual Source Code Material quoted or excerpted in derivative materials.

4.

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protections herem.

5. Plaintiffs shall provide Defendant with notice of their intent to inspect the Source
Code Computer(s) at least seven (7) calendar days prior to the first inspection and three (3)
calendar days for any non-contiguous subsequent inspection. The notice may state that the review
will continue from day-to-day as needed. Defendant will make good faith efforts to accommodate
inspection requests from the inspecting party, irrespective of the amount of notice provided.

6. Plaintiffs shall make reasonable efforts to restrict their requests for such access to
the Source Code Computer(s) to normal business hours, which for the purposes of this paragraph
shall be 8:30 a.m. through 6:00 p.m., Monday through Friday, local time where the Source Code
Computer(s) are physically located excluding any local holidays. However, upon reasonable
notice from the inspecting party, the producing party shall make reasonable efforts to
accommodate the inspecting party’s reasonable request for access to the Source Code Computer(s)
outside of normal business hours. Plaintiffs shall have a week to conduct an initial review of the
Source Code, After this initial review, the Parties will discuss the amount of additional time that
will be required for Plaintiffs’ further review of the Source Code. Plaintiffs reserve their right to
make reasonable requests for additional time to review the Source Code at any time, The Parties
agree to cooperate in good faith such that maintaining the Defendant’s Source Code Material shall
not unreasonably hinder Plaintiffs’ ability to efficiently and effectively conduct the prosecution of
this Action.

7. Plaintiffs shall provide the name(s) of the individual(s) who will be attending the
inspection in writing to Defendant at least two (2) business days in advance of the first time such
person inspects the Source Code Computer(s), Each of Plaintiffs’ Representatives inspecting the

Source Code Computer(s) shall, on each day they view the Source Code Computer(s), sign a log

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that will include their name and when they enter and depart the secured room. Proper identification
of all Plaintiffs’ Representatives shall be provided prior to any access to the secure inspection room
or the Source Code Computer(s). Proper identification requires showing a photo identification
card sanctioned by the government of any State of the United States, by the government of the
United States, or by the nation state of the Representative’s current citizenship. Access to the
secure inspection room or the Source Code Computer(s) may be denied, at the discretion of
Defendant’s counsel, to any Representative who fails to provide proper identification.

8. Defendant shall provide Plaintiffs with information explaining how to start, log on
to, and operate the Source Code Computer(s) in order to access the produced Source Code Material
on the Source Code Computer(s).

9. Plaintiffs’ Representatives are prohibited from bringing outside electronic devices,
including but not limited to phones, computers, devices capable of recording, drives, cameras, or
other hardware into the room with the Source Code Computer(s). The hosting facility shall provide
a secure location separate from but in close proximity to the room housing the Source Code
Computer(s) to store personal electronic devices, which location shall have telephone and internet
access. Plaintiffs’ Representatives shall be permitted to access the internet and use a personal cell
phone in that room.

10, Plaintiffs’ Representatives shall be entitled to take notes (electronic or non-
electronic) relating to the Source Code but any such notes shall not include copies or reproductions
of portions of the Source Code Material. The notes may, however, contain filenames, directory
names, module names, class names, parameter names, variable names, function names, method
names, procedure names, or other similar information, To the extent the inspecting party desires

to take notes electronically, the producing party shall provide a note-taking computer (¢.g., a

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computer, which is distinct from the Source Code Computers, that is not linked to any network,
including a LAN, an intranet, or the Internet with a current, widely used word processing program
in the Source Code Material review room for Plaintiffs’ use in taking such notes. Such notes shall
be downloaded to or uploaded from a removable disk or drive for Plaintiffs (but not Defendants).
The note-taking computer shall have no features that would hinder the complete clearing of
Plaintiffs’ notes after such notes have been downloaded. Defendant shall not review the notes at
any time. No other written or electronic record of the Source Code Material is permitted except
as otherwise provided herein. Any such notes shall be stamped and treated as “HIGHLY
CONFIDENTIAL — SOURCE CODE.”

11. Defendant’s outside counsel may visually monitor the activities of Plaintiffs’
Representatives during any inspection from outside such room (e.g., through a glass wail or
window), only to ensure that there is no unauthorized recording, copying, or transmission of the
Source Code Material and only so long as Defendant’s outside counsel cannot hear Plaintiffs’
Representatives and cannot see the contents of Plaintiffs’ Representatives’ notes or the display of
the Source Code Computer(s).

12. ‘Plaintiffs may include material designated “HIGHLY CONFIDENTIAL —
SOURCE CODE” in a pleading, exhibit, expert report, discovery document, deposition transcript,
or other Court document (“Source Code Document”), provided that the Source Code Documents
are also designated “HIGHLY CONFIDENTIAL — SOURCE CODE”, restricted to those who are
entitled to have access to them as specified herein, and, if filed with the Court, filed under seal or
redacted in accordance with the Court’s rules, procedures, and orders. Plaintiffs shall only include
such excerpts or portions of Protected Material as reasonably necessary for the purposes for which

such Protected Material is used. To the extent Protected Material designated “HIGHLY

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CONFIDENTIAL — SOURCE CODE” is quoted or attached as exhibit(s) in a Source Code
Document, either (1) the entire Source Code Document will be stamped and treated as “HIGHLY
CONFIDENTIAL — SOURCE CODE”, or (2) those pages containing quoted Protected Material
designated “HIGHLY CONFIDENTIAL — SOURCE CODE” will be separately stamped and
treated as “HIGHLY CONFIDENTIAL — SOURCE CODE”,

13. No copies of all or any portion of the Source Code, or other written or electronic
record of the Source Code, may leave the secured room in which the Source Code is inspected
except as provided herein. Plaintiffs’ Representatives may obtain an aggregate total of 50 pages
(100 lines per page) or 63 pages (80 lines per page) of model code, and an aggregate total of 400
pages with a 50 consecutive page limit (80 lines per page) of application code to prepare court
filings, expert reports, or other papers, or for deposition or trial, all of which shall be designated
and clearly labeled “HIGHLY CONFIDENTIAL ~ SOURCE CODE” (“Printouts”). Plaintiffs are
permitted to make reasonable requests for additional Printouts. Defendant must object to a request
for additional Printouts within two (2) business days. If an objection is raised and the parties are
unable to resolve the dispute, the parties may raise the dispute with the Special Master. Printouts
are not intended to be used as a substitute for the inspection procedures detailed in this Source
Code Protocol.

14. The Source Code Computer(s) shall have the capability to create PDFs of Source
Code Material. To obtain Printouts, Plaintiffs’ Representatives shall use the software available on
the Source Code Computer(s) to create PDFs of the printed copies Plaintiffs are requesting.
Plaintiffs shall place the files requested to be printed in a folder designated for such Printouts on
the Source Code Computer(s) and identify the files by file path, file name, and line numbers.

Plaintiffs’ Representatives must serve by email to Defendant’s outside counsel a request to print

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those pages. Within two (2) business days of such request, Defendant shall provide five (5) Bates-
stamped paper copies of such pages to Plaintiffs’ Representatives.

15. Any Printouts and any other documents or things reflecting Source Code Material
that have been designated as “HIGHLY CONFIDENTIAL - SOURCE CODE” may not be copied,
digitally imaged, or otherwise duplicated, except as described in paragraph 12. No electronic
copies of Printouts shall be made without prior written consent of Defendant, except as necessary
to create documents which, pursuant to the Court’s rules, procedures, and order, must be filed or
served electronically or as provided in paragraph 17 below. Plaintiffs’ Representatives shall only
include such excerpts as are reasonably necessary for the purposes for which such part of the
Source Code Material is used.

16. Plaintiffs’ Representatives shall maintain a log of all Printouts that includes the
names of the reviewers and/or recipients of Printouts and locations where the Printouts are stored.
Plaintiffs’ Representatives shall keep the printouts in a secured locked area in the offices of such
outside counsel, expert, or consultant. Plaintiffs’ Representatives may also temporarily keep the
printouts at; (i) the Court for any proceeding(s) relating to the Source Code Material, for the dates
associated with the proceeding(s); (ii) the sites where any deposition(s) relating to the Source Code
Material are taken, for the dates associated with the deposition(s); (iii) the site of any source code
inspection; and (iv) any intermediate location reasonably necessary to transport (e.g., a hotel prior
to a Court proceeding or deposition), provided that the Printouts are kept in a secure manner that
ensures access is limited to the persons authorized under this Order and the Protective Order.

17. Material designated “HIGHLY CONFIDENTIAL - SOURCE CODE” may only
be transported by the Plaintiffs’ Representatives or Plaintiffs’ outside counsel at the direction of a

person authorized under paragraph 3 above to another person authorized under paragraph 3 above

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on paper or removable electronic media (e.g., a DVD, CD-ROM, flash memory “stick,” or external
hard drive) via hand carry, Federal Express or other similarly reliable courier.’ Printouts or any
excerpts thereof may not be transmitted electronically over a network of any kind, including a
LAN, an intranet, or the Internet, except as provided in paragraphs 12 and 15 above. Printouts
may only be transported electronically for the purpose of Court proceeding(s), deposition(s), or
source code inspections as set forth in paragraph 16 above and is at all times subject to the transport
and labeling restrictions set forth herein. For those purposes only, printouts of the Source Code
Materials may be loaded onto a non-networked, stand-alone computer,

18. All copies of any material “HIGHLY CONFIDENTIAL -— SOURCE CODE” in
whatever form shall be securely destroyed if they are no longer reasonably necessary in this Action
(e.g., extta copies at the conclusion of deposition). Copies of Protected Material designated
“HIGHLY CONFIDENTIAL — SOURCE CODE” that are marked as deposition exhibits shall not
be provided to the court reporter or attached to deposition transcripts; rather, the deposition record
will identify the exhibit by its production numbers.

19. Nothing in this Source Code Order shall alter or change in any way the
requirements of the Protective Order. In the event of any conflict, however, this Source Code

Order shall control for any Source Code Material made available for inspection.

3 This provision shall in no way restrict Plaintiffs’ ability to share courtesy copies of filings with
the Court, so long as such copies are delivered via Fed Ex or a similarly reliable carrier.

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SO STIPULATED AND AGREED.

Dated: January 8, 2025

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SO ORDERED.

HNIC HELLERSTEIN
United States District Judge

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